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                                   STATEMENT OF FACTS

        Your affiant, Sean M. O’Donovan, is a Special Agent with the Federal Bureau of
Investigation (“FBI”). I am assigned to FBI’s Northeast Florida Joint Terrorism Task. I have been
a Special Agent since June 2001. In my current duties, I am responsible for conducting a variety
of investigations in the area of counterterrorism. In the performance of my duties, I have led and
participated in investigations of matters involving violations of federal law related to domestic
terrorism, international terrorism, weapons of mass destruction, and bombing matters. Currently,
I am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

         At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice



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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

         During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        In January 2021, FBI Special Agents reviewed open source online videos submitted in
connection with a complaint received via the National Threat Operations Center regarding the
January 6, 2021 Capitol building intrusion. The agents documented numerous unidentified
subjects who engaged in destructive or violent conduct near the entrance of the Capitol Building,
and submitted them to the FBI’s Be On the Look Out (“BOLO”) alerts.

        The individual depicted below, later identified as Anthony SARGENT (“SARGENT”),
was listed as BOLO 158. SARGENT appears to be wearing a gray hooded sweatshirt and a black
face gaiter with a skull jawbone printed on it.




                                                                       1




        Your affiant has reviewed several open source videos that depict SARGENT attempting to
breach the north entrance to the Capitol building on January 6, 2021. In one of the videos, 2
SARGENT is seen pushing the crowd in an apparent attempt to breach the outer doors of the north
entrance to the Capitol building. In this video, SARGENT appears to be wearing a gray hoodie
and a green military-style backpack. At this time, the doors to the north entrance of the Capitol
building appear closed.



1 https://www.fbi.gov/wanted/capitol-violence-images/capitol-158.jpg/view.


2 The New Yorker, “A Reporter’s Footage from Inside the Capitol Siege,” YouTube (Jan. 17,

2021), available at https://www.youtube.com/watch?v=270F8s5TEKY.
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       SARGENT is next seen exiting the north entrance of the Capitol building through a cloud
of white smoke. As depicted in the photo below, SARGENT appears to have tattoos on the
knuckles and back side of his right hand.




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       After the smoke dissipates, SARGENT can be seen waving the crowd back toward the
north entrance of the Capitol.




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       SARGENT is then seen re-exiting the north entrance after a chemical irritant is sprayed.




        The next open source video 3 shows rioters attempting to break through the inner doors to
the north entrance of the Capitol building. Your affiant believes that this video was taken after

3 The Rundown Live, “Save America Protestors Attempt Entrance into Washington DC Capitol,”

YouTube (Jan. 6, 2021), available at https://www.youtube.com/watch?v=y-C4F7x6oFY. As of
September 10, 2021, this link appears to have been disabled.
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the attempted breach depicted in the screenshots above, since the outer doors of the north
entrance appear open in this video.




         As depicted in the screenshots below, a tattoo on the back side of SARGENT’s right hand
is visible as SARGENT repeatedly throws an unknown object toward the inner doors of the north
entrance. Based on estimates provided by the Office of Architect of the Capitol, your affiant
believes that SARGENT, together with other rioters, caused over $1,000 in damage to the north
doors of the U.S. Capitol building.




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       SARGENT also appears to be wearing a radio on his jean pocket, as circled in red in the
image below.




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                                 Identification of SARGENT

        Law enforcement has identified two open source photographs of an individual resembling
the individual depicted in the screenshots above. The first photograph (left) is from a June 15,
2017 magazine article titled “BMX Factor: Anthony Sargent of First Coast BMX,” published in
the St. Augustine Social. 4 The second photograph (right) is from an article published on a news
website called One News Page and titled “How Canada Has Handled the Proud Boys.” 5 This
undated photo appears to show SARGENT at a rally wearing yellow and black apparel. Based on
my training and experience, I know these colors to be affiliated with the Proud Boys.




        Open source searches for “Anthony Sargent Proud Boys” revealed the following Twitter
accounts: @anontreborsux, @anontreborsuxg2, @treborsux. Using the Internet Archive’s
“Wayback Machine,” law enforcement was able to retrieve the profile page for the now-disabled
account username @anontreborsuxg2. The user account page contains an image of an individua l
with a thick black beard resembling SARGENT. The profile information lists the user’s name as
“Sarge Slaughter” with the following description: “Ancient City Proud Boy Constitutiona list
Unapologetic no mask.” The background photo for the account is a recruitment poster in the style
of an Uncle Sam U.S. Army recruitment poster that displays the text: “WE WANT YOU TO BE
A PROUD BOY: We are western chauvinists who refuse to apologize for creating the modern
world.”




4 Alexter Albury, “BMX Factor: Anthony Sargent of First Coast BMX,” St. Augustine Social

(June 15, 2017), available at https://www.staugustinesocial.com/bmx-factor-anthony-sargent-
first-coast-bmx/.

5 https://www.onenewspage.com/video/20210128/13600836/How-Canada-Has-Handled-The-

Proud-Boys.htm.


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        Law enforcement has also reviewed the Twitter page associated with the still-active
account @treborsux. The profile information lists the user’s name as “Anthony Sargent” with the
description: “BMX saved my life.”

       On May 22, 2018, Twitter user @treborsux posted a captioned mirror selfie-style
photograph that resembles SARGENT. In particular, the knuckle tattoos in the mirrored image of
the man’s right hand resemble the knuckle tattoos on SARGENT’s right hand in open source
photos from January 6, 2021.




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        Finally, on March 19, 2021, law enforcement conducting surveillance in St. Augustine,
Florida, obtained the following photos of SARGENT. The first photo shows the tattoos on the
back of SARGENT’s right hand and knuckles.




        The second photo shows SARGENT wearing a backwards black cap with the yellow Proud
Boys logo on the side. SARGENT is also wearing a red face/neck gaiter with a skull print, similar
to the face/neck gaiter that SARGENT can be seen wearing in the January 6, 2021 photos of him
hurling an unknown object toward the inner doors of the north entrance to the Capitol building.




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         According to records obtained through a search warrant served on Google, a mobile device
associated with anontreborsux@gmail.com was present at the U.S. Capitol on January 6,
2021. Google estimates device location using sources including GPS data and information about
nearby Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy,
depending on the source(s) of the data. As a result, Google assigns a “maps display radius” for
each location data point. Thus, where Google estimates that its location data is accurate to within
10 meters, Google assigns a “maps display radius” of 10 meters to the location data point. Finally,
Google reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time. In this case, Google location data shows that a device associated
with anontreborsux@gmail.com was near the north entrance to the U.S. Capitol from
approximately 3:30 p.m. to 4:17 p.m. EST, and near the east entrance to the U.S. Capitol from
approximately 4:40 p.m. to 4:49 p.m. EST. Google records show that the “maps display radius”
for this location data was less than 100 feet, which encompasses an area that is both within and
outside the U.S. Capitol Building.
         Based on the foregoing, your affiant submits that there is probable cause to believe that
SARGENT violated 18 U.S.C. §§ 1361 and 2, by willfully injuring or committing, or attempting
to willingly injure or commit, any depredation against any property of the United States. The inner
door to the north entrance of the United States Capitol is property of the United States government.

        Your affiant submits that there is also probable cause to believe that SARGENT violated
18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to: (1) knowingly enter or remain in
any restricted building or grounds without lawful authority to do; (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; and (4) knowingly engages in any act of physical violence against

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any person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

         Finally, your affiant submits that there is probable cause to believe that SARGENT violated
40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly: (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.




                                                      _________________________________
                                                      Sean M. O’Donovan
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of September, 2021.
                                                                           2021.09.13
                                                                           14:24:17 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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